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                                                    UNITED STATES v. RYAN WESLEY ROUTH
                                                      CASE NO. 24-80116-CR-Cannon/McCabe
                                              INDEX TO GOVERNMENT’S EIGHTH SDO RESPONSE
                                           (Bates Range Nos.: Gov019490-019842 and GovExp011259-011291)
                                                                  Data Size: 30 GB

                                                    ITEMS UPLOADED TO USAFX ON FEB. 28, 2025
                 FOLDER:                                                              FILE:                          BATES Nos.:
    > 1 01 Law Enforcement Reports             - Law Enforcement Reports Combined Redacted.pdf                     Gov019490-019518
    > 02 Photographs and Videos                >> 153_Photos re R.F.                                               Gov019519-019554
                                                   - Serial 153 Photos Combined.pdf (Gov019519-019525)
                                               >> 1467_1A1148 Photos 2-4-25 TIGC Canvas:
                                                   - 1467 1A Photos Combined.pdf (Gov019526-019544)
                                               >> 1470_1A1150 AT&T Surveillance:
                                                   - ATT Wendover 08042024 (w Player).zip (Gov019545)
                                                   - Main 1470_1A1150 AT&T Surveillance.zip (Gov019546)
                                               - 1468_1A0001149_0000001_Redacted.pdf (Gov019547-019553)
                                               - 1482_1A0001153_0000001_Redacted.pdf (Gov019554)
    > 03 Records                               - Records Combined_Redacted.pdf (Gov019555-019601)                  Gov019555-019601
    > 04 Jail Communications                   >> 2.7.2025 data release to trial team_jail calls:                  Gov019602-019815
                                               >>> 12-13-24 to 12-17-24_4 Calls:
                                                   - 35967511_Dec_14_2024_19_36_40_PM_                 _DONE.wav
                                                   - (Gov019602)
                                                   - 35967511_Dec_16_2024_18_58_51_PM_                 _DONE.wav
                                                   - (Gov019603)
                                                   - 35967511_Dec_17_2024_18_56_54_PM_                 _DONE.wav
                                                   - (Gov019604)
                                                   - 35967511_Dec_17_2024_21_10_08_PM_                 _DONE.wav
                                                   - (Gov019605)
                                               >>> 12-18-24 to 12-22-24_3 Calls:
                                                   - 35967511_Dec_18_2024_19_48_28_PM_                 _DONE.wav
                                                   - (Gov019606)
                                                   - 35967511_Dec_19_2024_20_17_03_PM_                 _DONE.wav
                                                   - (Gov019607)
                                                   - 35967511_Dec_21_2024_18_24_38_PM_                 _DONE.wav
                                                   - (Gov019608)


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    “>” denotes a folder and “>>” or “>>>” denote subfolders.
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               FOLDER:                                                         FILE:                                                         BATES Nos.:
    > 06 Protection Memo                 Major Candidate Certification.pdf                                                                    Gov019836
    > 07 ATF Reports                              - D3 Report of Analysis #1 (Inventory) Final Signed KMM_Redacted.pdf                  GovExp011259-011291
                                         (GovExp011259-011278)
                                                  - D3 Report of Analysis #2 (Notable Findings) Final Signed
                                         KMM_Redacted.pdf
                                         (GovExp011279-011291)
                                         ITEMS PROVIDED ON THUMB DRIVE VIA FEDERAL EXPRESS 2 (16.5GB)
        360 Spherical Interactive       (Gov019837)                                                                                        Gov019837
        Drone Imagery                   -                    Drone Imagery.pdf (Gov019838)                                              Gov019838-019840
                                         -     Overview_TIGC.tif (Gov019839)
                                         -     Scene_TIGC.tif (Gov019840)
        Scene2Go                        (Gov019841)                                                                                          Gov019841
                                            - Scene2go-Instructions-10-05-1013.pdf (Gov019842)                                                Gov019842




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  The materials contained in this thumb drive are the raw data pertaining to the items produced on February 6, 2025, in the Government’s Seventh SDO Response,
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